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BZFORI JUDGE: SPATT       DATE: FIBRUARX 26. 2013 TIME: 9:30 ( 2 hr                                                       l
DOCKET NUMBER: CV-07-2973

TITLE: PAONE , LUCIANO l,       v.       MJ:CROSOJ'T COJU>O;RATION



APPEARANCES: FOR PLAINTI!T: An4rew G. Heinz. Esq.

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                                     Gianni CUtri                                      U.S. DISTRICT CGURT E D.N.Y,
                                     Beni•m;n Lasley
                                     Kenneth Jdpmo
                                     Jon Carter
                                                                             *         FEB 26 2013                 *
                                                                              LONG ISLAND OFFICE
                 FOR DEFENDANT: Dale M. Heist. Esq.
                                     Daft K.        w.mh
                                     Ral!IDond Perkins
                                     Daniel Goettle
                                     Greg Zuoke;
                                     John Mumby

                                     Greg S. Zucker Esq.

C/R       Harry Rappaport

...1L_    CASE CALLED .

...1L_    COUNSEL FOR ALL SIDES PRESENT
          COUNSEL FOR.__________________________,NOT PRESENT

          STATUS CONFERENCE HELD

          CASE ~ READY FOR TRIAL ------------------------------------------
_L        FURTHZR STATUS CONFERENCE SCHEDULED FOR                             Septpher 27. 2013 at 9:00 !1111·

          OTHER'--------------------------------------------------------------




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